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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

 IN RE:                                                           )
                                                                  )
 ITT EDUCATIONAL SERVICES, INC., et al. 1                         )        Case No. 16-07207-JMC-7A
                                                                  )
          Debtors.                                                )        Jointly Administered

          TRUSTEE’S 30th OMNIBUS OBJECTION TO CLAIMS PURSUANT TO
        BANKRUPTCY RULE 3007(d)(3) AND NOTICE OF RESPONSE DEADLINE

         Deborah J. Caruso, the chapter 7 trustee in this case (the “Trustee”), files this omnibus
 objection to claims pursuant to Rule 3007(d)(3) of the Federal Rules of Bankruptcy Procedure
 (the “Bankruptcy Rules”). Pursuant to Bankruptcy Rule 3007(d)(3), the Trustee respectfully
 objects to those claims listed on Exhibit 1 attached hereto on the grounds that the claims have
 been amended by subsequently filed proofs of claim. Claimants receiving this objection
 should locate their names and claim number(s) on Exhibit 1 attached hereto. All inquiries
 regarding the Trustee’s proposed treatment of a claim should be submitted electronically at
 ittchapter7@rubin-levin.net.

         The Trustee expressly reserves all rights related to this objection, including, without
 limitation, the right to amend, modify, or supplement this objection and/or raise any additional
 objections or arguments, prior to or during any hearing(s) regarding the claims listed on Exhibit
 1. The Trustee also reserves the right to object to the claims listed on Exhibit 1 on any
 additional grounds permitted under applicable law. All such rights are expressly reserved and
 preserved.

 NOTICE: Your claim may be reduced, modified, or eliminated. You should read these
 papers carefully and discuss them with your attorney, if you have one.

 If you disagree with the Trustee’s proposed treatment of your claim, as listed on Exhibit 1, then
 by no later than 4:00 p.m. (prevailing Eastern time) on September 22, 2022 (30 days from the
 date of service), you or your attorney must file a written response to this objection explaining
 your position. Any written response should list or otherwise indicate the title of this objection.

 Parties not represented by an attorney may deliver any written response to this objection as
 follows: (a) by U.S. mail, courier, overnight/express mail at Clerk, United States Bankruptcy
 Court, Re: In re ITT Educational Services, Inc., et al., 116 U.S. Courthouse, 46 East Ohio Street,
 Indianapolis, IN 46204; or (b) by hand delivery to the Bankruptcy Clerk’s office.

 If you mail or hand deliver your response to the Court, it must contain your original signature
 (electronic signatures will not be accepted). If you mail your response to the Court, you must
 mail it early enough so the Court will receive it on or before the date stated above.

 1
  The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
 ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
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 You must also send a copy of your response to:
                                Deborah J. Caruso, Trustee
                                135 N. Pennsylvania Street, Suite 1400
                                Indianapolis, IN 46204
                                Email: ittchapter7@rubin-levin.net

 If you or your attorney do not take these steps, the Court may decide you do not oppose the
 Trustee’s proposed treatment of your claim and enter an order affecting your claim as proposed
 on Exhibit 1.

 NOTICE: A hearing on this objection and any responses filed thereto will be conducted on
 October 26, 2022 at 1:30 p.m. (prevailing Eastern time). Interested parties may participate at
 the hearing by conference call by calling 1-888-273-3658, passcode 6349352#.

        WHEREFORE, the Trustee respectfully objects to the claims listed on Exhibit 1 and
 requests entry of an order: (i) granting the Trustee’s proposed treatment of the claims as listed
 on Exhibit 1; (ii) authorizing the Trustee to update the claims register(s) accordingly, and (iii)
 granting the Trustee all other just and proper relief.

 Date: August 23, 2022                                 /s/ Deborah J. Caruso
                                                       Deborah J. Caruso, Trustee
                                                       135 N. Pennsylvania Street, Suite 1400
                                                       Indianapolis, IN 46204




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                                 CERTIFICATE OF SERVICE

          I hereby certify that on August 23, 2022, a copy of the foregoing Trustee’s 30th Omnibus
 Objection to Claims Pursuant to Bankruptcy Rule 3007(d)(3) and Notice of Response Deadline
 was filed electronically. Pursuant to Section IV.C.3(a) of the Notice, Case Management and
 Administrative Procedures (the “Case Management Procedures”) approved by the Court on
 October 4, 2016 [Doc 220], Bankruptcy Rule 3007(a)(2)(B) and S.D.Ind. B-3007-1(a), notice of
 this filing will be sent to the following parties through the Court’s Electronic Case Filing System.
 Parties may access this filing through the Court’s system.

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        I further certify that on August 23, 2022, pursuant to Section IV.C.3(c) of the Case
 Management Procedures, a copy of the foregoing Trustee’s 30th Omnibus Objection to Claims
 Pursuant to Bankruptcy Rule 3007(d)(3) and Notice of Response Deadline was emailed to the
 following:

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 TN Dept. of Revenue: Michael Willey at michael.willey@ag.tn.gov
 Florida Department of Education: Jason Borntreger at jason.borntreger@fldoe.org
 Last Second Media, Inc.: T. Todd Egland at tegland@beldenblaine.com
 Hung Duong: Kevin Schwin at kevin@schwinlaw.com
 Travis County: Kay D. Brock at kay.brock@traviscountytx.gov
 Able Building Maintenance: Scott D. Fink at bronationalecf@weltman.com
 Marathon Ventures, LLC: Daniel M. Karger at kargerlaw@gmail.com
 Oklahoma County Treasurer: Tammy Jones at tammy.jones@oklahomacounty.org
 JM Partners LLC: John Marshall at jmarshall@jmpartnersllc.com

         I further certify that on August 23, 2022, pursuant to Section IV.C.3(b)(ii) of the Case
 Management Procedures, Bankruptcy Rule 3007(a)(2)(A) and S.D.Ind. B-3007-1(a), a copy of
 the foregoing Trustee’s 30th Omnibus Objection to Claims Pursuant to Bankruptcy Rule
 3007(d)(3) and Notice of Response Deadline was mailed either by first-class U.S. Mail or
 certified mail (as indicated), postage prepaid, and properly addressed to those listed on the
 Service List attached hereto as Exhibit 2.

                                                                        /s/ Deborah J. Caruso
                                                                        Deborah J. Caruso, Trustee
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 3007(d)(3).docx




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